Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-mj-8161-WM

   UNITED STATES OF AMERICA                             )
                                                        )
   v.                                                   )
                                                        )
   MICHAEL DOLCE,                                       )
                                                        )
           Defendant.                                   )
                                                        )

                                    CRIMINAL COVER SHEET

        1. Did this matter originate from a matter pending in the Northern Region of the United States
           Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)?

        2. Did this matter originate from a matter pending in the Central Region of the United States
           Attorney's Office prior to October 3,2019 (Mag. Judge Jared M. Strauss)?

        3. Did this matter involve the participation of or consultation with now Magistrate Judge
           Eduardo 1. Sanchez during his tenure at the U.S. Attorney's Office, which concluded on
           January 22, 2023?


                                                 Respectfully submitted,

                                                 MARKENZY LAPOINTE
                                                 UNITED STATES ATTORNEY

                                         By:     /s/ Alexandra Chase
                                                 ALEXANDRA CHASE
                                                 ASSISTANT UNITED STATES ATTORNEY
                                                 District Court No. A5501746
                                                 500 South Australian Avenue, Suite 400
                                                 West Palm Beach, Florida 33401
                                                 Tel: (561) 209-1011
                                                 Fax: (561) 659-4526
                                                 alexandra.chase@usdoj.gov
    Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 2 of 9

  AO 91 (Rev. 11111) Criminal Complaint



                                          UNITED STATES DISTRICT COURT
                                                                   for the                                                       SW
                                                      Southern District of Florida
                                                                                                                         Mar 24, 2023
                    United States of America                          )
                                  v.                                  )
                                                                                                                                   WPB
                        MICHAEL DOLCE                                 )      Case No.
                                                                      )                   23-mj-8161-WM
                                                                      )
                                                                      )
                                                                      )
                             Defendant(s)


                                                  CRIMINAL COMPLAINT

            I, the complainant     in this case, state that the following is true to the best of my knowledge      and belief.
  On or about the date(s) of                  March 15, 2023                 in the county of .            Palm Beach             in the
       Southern          District of            Florida           , the defendant(s)   violated:

                 Code Section                                                   Offense Description
  18 USC 22S2A(a)(5)(B) and (b)(2)               Possession of child pornography involving a prepubescent            minor and a minor
                                                 who had not attained twelve years of age




            This criminal complaint is based on these facts:

  Please see the attached affidavit of Special Agent Gennady Julien, Federal Bureau of Investigation ("FBI"), which is
  incorporated herein by reference.




            if   Continued on the attached sheet.



Sworn and attested to me by
applicant by telephone (FaceTime) per                                                     FBI Special Agent Gennady Julien
the requirements of Fed. R. Crim. P.                                                               Printed name and title
4(d) and 4.1



  Date:    March 24, 2023
                                                                                                     Judge's signature

  City and state:                   West Palm Beach, Florida                     Han. William Matthewman,        U.S. Magistrate Judge
                                                                                                   Printed name and title
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 3 of 9




                       AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

          I, Special Agent Gennady Julien (the Affiant), been duly sworn, depose and state as

   follows:


          1.      I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

   been so employed since 2019. I am currently assigned to the Violent Crime Squad, and my duties

   include investigating violations of federal law. As part of my duties, I investigate crimes involving

   the sexual exploitation of minors including the production, possession, and distribution of child

   pornography. In that time, I have become familiar with the methods and means used by individuals

   engaging in violent crimes such as online sexual exploitation of children. I have conducted and

   assisted in several child exploitation investigations and have executed search warrants that have

   led to seizures of child pornography. I have received training in the area of child pornography and

   child exploitation and have had the opportunity to observe and review numerous examples of child

   pornography (as defined in 18 U.S.C. § 2256) in many forms of media. Moreover, I am a federal

   law enforcement officer who is engaged in enforcing the criminal laws, including 18 U.S.C. §

   2250 and 2252A, and I am authorized by law to request a search warrant.

          2.      In this capacity, I have investigated child exploitation and internet crimes against

   children cases. I have participated in investigations of persons suspected of violating federal child

   pornography laws. These investigations have included the use of surveillance techniques,

   undercover activities, the interviewing of subjects and witnesses, and the planning and execu~ion

   of arrest, search, and seizure warrants. In the course of these investigations, I have reviewed still

   images and videos containing child pornography and images depicting minor children engaged in

   sexually explicit conduct on all forms of electronic media including computers, digital cameras,

   and wireless telephones, and have discussed and reviewed these materials with other law



                                                     1
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 4 of 9




   enforcement officers. I have also participated in training programs for the investigation and

   enforcement of federal child pornography laws relating to the use of computers for receiving,

   transmitting, and storing child pornography. In addition, I have received training in the field of

   computer crimes and Internet crimes investigations.

          3.      The facts set forth in this affidavit are based upon my personal knowledge;

   information obtained from others involved in this investigation, including other law enforcement

   officers; my review of documents; and information gained through training and experience. Since

   this affidavit is being submitted for the limited purpose of establishing probable cause to support

   a Criminal Complaint, I have not included each and every fact known to me concerning this

   investigation. Rather, I have set forth only those facts I believe are necessary to establish probable

   cause to believe that on or about March 15,2023, MICHAEL DOLCE (hereinafter referred to as

   "DOLCE") violated 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) (possession of child pornography

   involving a prepubescent minor and a minor who has not attained twelve years of age).

          4.      On the evening of March 15, 2023, personnel from the Federal Bureau of

   Investigation executed three federal search warrants issued in the Southern District of Florida for

   MICHAEL DOLCE, date of birth 1969; his vehicle; and his residence in West Palm Beach,

   Florida, 33401. Entry into the residence occurred as a result of a forceful breach on the door when

   DOLCE did not respond to commands by law enforcement to come to the door. Tactical

   surveillance and entry teams revealed that DOLCE was alone in the residence, awake on a bed at

   the time FBI personnel first knocked and announced at his door. Located directly adjacent to

   DOLCE on the bed was a Samsung laptop (SAMSUNG).

          5.      The SAMSUNG was found unlocked with multiple open windows and tabs, all of

   which were in the user account "MICHA" registered to "Michael Dolce". One window featured a



                                                     2
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 5 of 9




   desktop panel, with a background image featuring a female between the approximate ages of

   sixteen (16) and twenty-five (25) being vaginally and anally penetrated by two separate adult

   males. Another window featured the Microsoft Edge browser with an "in private" 1 window on a

   Google image search page for the search term "keep calm fuck". The browser page displayed

   several images parodying the popular "keep calm and carry on" phrase, including, "keep calm and

   fuck me."

           6.       The SAM SUNG had an additional window open in Microsoft Edge browser for a

   website called ••www.btmet.com ••.Within the search function of the website there was a visible

   search query for "Is studio collection", as well as a series of video results which appeared to be

   playable online. "Ls studio collection" is part of the Ls series of images and videos, which

   commonly display both child erotica and child pornography featuring predominantly prepubescent

   females.

           7.       Additionally open in a tab on the SAMSUNG was a program called "uTorrent".

   UTorrent is a program that allows a user to download media files from the BitTorrent peer to peer

   network. Downloads through BitTorrent network allow a user to download large quantities of

   media files both anonymously and without payment to a vendor or intellectual property owner.

   Visible within the uTorrent window were several downloads of groups of files, at least nine (9) of

   which referenced the Ls series in the title. These included -

                         •   Name: LS Studio Collection - Other LS Issues Part A
                             Size: 7.85 GB

                         •   Name: LS Models Essentials - Batch A
                             Size: 8.83 GB




   1 "In Private" windows are a browser function which allow a user to browse the internet without retaining a cache or
   URL history.

                                                            3
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 6 of 9




          8.      Open on the SAM SUNG was a folder, file path - C:/NewFolder(4)/LS Models

   Essentials - Batch AlLS-Finder-56/previews/ukrangle-O. Immediately visible via large thumbnail

   icons were several dozen images of prepubescent females in varying states of undress. Many of

   the files appeared to be child erotica, meaning they featured prepubescent children in sexualized

   poses in varying states of undress with their genitalia concealed or angled away from the camera.

   There were also clearly visible within the folder multiple images that constituted child

   pornography, wherein images of pre-pubescent females displayed both their pubic region and

   genitalia. Several files were visible on the computer at the time of the warrant execution, and were

   later seized by FBI forensic examiners, including the following:

                      •   Name: ukranglp033.jpg
                          Description: Image features a prepubescent female, approximate apparent
                          age between nine (9) and eleven (11) years old wearing only a long sleeve
                          shirt. The prepubescent female is displayed standing facing the camera,
                          and pulling the shirt up exposing her naked genitalia, pubic region, and
                          belly.
                          Hash SHA-I: 7IF00079D IBD968E331 049DD68D8470842A3AABE

                      •   Name: ukranglp053
                          Description: Image features a prepubescent female, approximate apparent
                          age between nine (9) and eleven (11) years old. The prepubescent female
                          is standing nude facing the camera holding see through cloth over her
                          chest and arching her back while displaying her vagina towards the
                          camera.
                          Hash SHA-I: I42B868FC43577CAA6D99FFIE29EBID5DI7B5DCA                   .

          9.      Also open on the SAMSUNG was a folder titled "New Folder (5)". "New Folder

   (5)" contained within it nine (9) additional sub-folders.    All sub-folders contained sexualized

   media featuring prepubescent children. Four (4) of the nine (9) sub-folders in "New Folder (5)"

   contained predominately or exclusively child pornography featuring prepubescent females

   displaying their genitalia in a lewd or lascivious manner. One sub-folder, titled "sweetie", featured

   an addition sub-folder titled "Sweet-Pedo Stars", which featured child erotica and child



                                                    4
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 7 of 9




   pornography   images of a single prepubescent          minor female victim with the added watermark

   "PEDO STARs". Your affiant knows this phrase to be shorthand for "Pedophile Stars", a reference

   to children featured in child pornography.

           10.    FBI digital      forensic   examiners       and filter teams     conducted      a reView of the

   SAMSUNG. As of3/24/23,          FBI personnel had identified one-thousand             nine-hundred   ninety-seven

   images and five videos of child pornography            based upon known hash values for previously

   identified child pornography.    These included the following:

                      •   Hash: 59EDCFC3DE305281B         12BCE4032B56ECB
                          Description: Image features a pr~pubescent female, approximate apparent
                          age between five (5) and eight (8) years old, wearing a bonnet, a wedding
                          leg garter, and sucking on a pacifier. The prepubescent female is sitting
                          with her legs spread, exposing her apparently wet genitals and pubic
                          region to the camera.

                      •   Hash: 020E3B05C175E6D3A52750C824E39E91
                          Description: Image features an up-close shot of the vagina of a pre-
                          pubescent girl, apparent approximate age between six (6) and ten (10)
                          years old. The prepubescent girl appears to be pushing a lollipop into her
                          vagma.

           11.    FBI forensic      examiners   additionally      extracted   transfer     data from the uTorrent

   program. Data recovered      from uTorrent indicated that a download            for "LS Models Essentials -

   Batch Atorrent",   which bears the same title as the file set visible being actively downloaded                 on

   uTorrent when law enforcement entered the premises, and whose sub-folder "ukrangl-O" was open

   and visible on the SAM SUNG at the same time, indicated that downloads for those files began at

   5:31 p.m. on 03/15/2023,   and were stopped at 9:20 p.m. on 03/15/2023.

           12.    Based upon the foregoing facts, and my training and experience, I submit that there

   is probable cause to believe that on or about March 15,2023, Michael Dolce violated 18 U.S.C. §




                                                          5
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 8 of 9




   2252A(a)(5)(B) and (b)(2) (possession of child pornography involving a prepubescent minor and

   a minor who has not attained twelve years of age).

                                                       Respectfully submitted,




                                                       Special Agent, Federal Bureau ofInvestigation

          Sworn and Attested to me by Applicant by Telephone (FaceTime) per Fed. R. Crim. P.
   4(d) and 4.1. on March 24th ,2023.




          HON. WILLIAM MATTHEWMAN
          UNITED STATES MAGISTRATE JUDGE




                                                   6
Case 9:23-mj-08161-WM Document 1 Entered on FLSD Docket 03/25/2023 Page 9 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:      MICHAEL DOLCE

   Case No: 23-mj-8161-WM

   Count #1:

   Possession of child pornography

   18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term oflmprisonment (if applicable): N/A
   * Max. Supervised Release: Life (mandatory minimum term of five years)
   * Max. Fine: $250,000 fine and a $5,000 special assessment




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
